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______________________________________________________________________________
                               September 19th 2022

William R. Moye                                    Bennett G. Fisher
Thompson Coe                                Lewis Brisbois (California-Foreign)
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                                 NO. 22-CCV-070378

RICHARD P. JONES,                          §          IN THE COUNTY COURT
MICHAEL JOSEPH BITGOOD                     §
A/K/A/ “Michael Easton”, and               §
LEWIS, BRISBOIS, BISGAARD &                §
SMITH LLP                                  §
              Plaintiffs                   §
                                           §
VS.                                        §         AT LAW NO. THREE (3) OF
                                           §
KARINA MARTINEZ,                           §
MARIANNA SULLIVAN,                         §
IMPERIAL LOFTS, LLC,
IMPERIAL LOFTS OWNER LLC         §
DAVID OUBRE,                     §
LEWIS, BRISBOIS, BISGAARD &
SMITH LLP, a California Foreign LLP

              Defendants                         FORT BEND COUNTY, TEXAS

Dear Mr. Moye and Mr. Fisher:


                                                             EXHIBIT 9
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                              I. “GENESIS”

1.     In connection with the above styled and numbered cause, I cannot
believe–or yes I can believe– that the attempt by Nolan Real Estate
Services to unlawfully evict one Black man, and Nolan’s attempt to
try it again after being slammed in justice-of-the-peace court has us here
surrounded by all you “luminaries” from coast- to- coast. Not content
with being caught the first time via Karina Martinez, Nolan then tried
to have me prosecuted by using a law-enforcement officer on their
payroll, similar to the threat I received yesterday from one Jana Lubert
from the “Lewis & Bobo” California chapter.

2.     Instead of turning over the items mandated by Rule 194 of the
Texas Rules, I get the run around from David Oubre, who to this date,
has yet, and despite his repeated promises, failed to turn over the
insurance policy (s) addressed by Rule 194.2 (b) (7). I will be addressing
all of his conduct in an omnibus sanctions motion based on his behavior
throughout this case– a case I might add, that could have settled for
750.00 (Seven Hundred and Fifty Dollars), and an apology to my
friend, Richard P. Jones.

3.   Of course, “luminaries” and wealthy and thieving landlords, do not
apologize to anyone, much less Blacks for stealing, lying, and
mistreating them; they simply hire more lawyers to drain the policy,
wear down the Plaintiffs, have them arrested and filed on, and then they
send the best and most arrogant prevaricators to court to “file down”
the Plaintiffs, and the trial judges as well. See In Re Thompson Coe, 212
S.W.3d. 918 (Tex. App. [12th Dist] 2007) (orig proceedings), see also,
Walker v. Whatley, No. 09-10-00285-CV (Tex. App. [9th Dist] 2010).

                             II. “EXODUS”

4.   So that there is no confusion going forward, I am requesting that
each “luminary” clearly identify:



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            a. Who they represent;
            b. in what capacity they purport to represent the
            “client”
            c. under what authority they purport to represent the
            “client”, and
            d. complete contact information since clients and
            witnesses are told not to comply with subpoenas–even
            after they sign and stipulate to appear, and take the
            monies to boot. This way the “luminaries” cannot be
            challenged when they lie in court, and conflicted lawyers
            can continue to generate income while concealing offers
            from the poorest client, to protect the richest ones, all
            while violating not only DR’s, but the fundamental
            rules of human decency. 1 What Oubre, and “Lewis &
            Bobo” did to Karina Martinez in this case should entitle
            that young lady to never work a day in her life again.

5.    If you “luminaries” insist on playing yet more games, I will again
bring a Rule 12 motion against whoever is appearing in violation of the
Texas Rules of Professional Conduct and Discipline, the Texas Business
and Commerce Code, and of course, the Texas Penal Code, which Madam
Sullivan and all the “luminaries” believe they are exempt from.

6.    As to Bennett Fisher, “welcome home” it’s been a while since we
have seen each other, and Judge Boehm nearly took your head off along
with the late Bob Axelrad. However, don’t get too comfortable just yet
because a motion to disqualify you, and “Lewis Bobo” is coming, and
thanks to Oubre that is a motion (and a gift) that simply will keep on
“giving”! Bennett has always been the “foam and flame” retardant used
as damage control. However, in this case, Oubre started a “grease” fire,
and then “poured” water on it. So, don’t settle in just yet for in the words
of the poet Robert Frost:

      1

A copy of a retention letter, a signed contract albeit electronic, will satisfy the
undersigned, along with a copy of each declarations page to each policy that has
been invoked or is in play.

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     “The woods are lovely, dark and deep; but I have promises
            to keep, and miles to go before I sleep.” 2

7.   So, please, turn over the long overdue policies, or, you guys could
do the smart thing here; settle for the nominal amounts we sent Oubre
and all of your “clients” dirty little secrets, business models, lawyer
misconduct, threats, cloak and dagger tactics, and the myriad of litigation
that will come from all of this will remain a deep and distant memory of
what the great “luminaries” did to curtail, not expand litigation.

8.    In case you “luminaries” missed it, as did Oubre, I did not ask for
a single solitary penny for me, not even for the hundreds of hours I have
poured into fighting Nolan. In 2018, I made it clear that I did not want
your monies, but rather, I told Oubre to write a check, (for what was
already owed me anyway) to Cornerstone Baptist Church and pay
Brad Beers his fees that were legally due him. Oubre, in violation of the
CPRC and Texas Supreme Court precedent, used his time, along with
Madam Sullivan, trying to get me arrested and jailed. (Wont a jury love
to hear this story)? 3

9.   By mocking the Lord, and representing that they would do so,
Oubre, and Madam Sullivan, have brought judgement on their heads,
and this will follow them all the days of their lives. See: Galatians 6:7:

          “Be not deceived; God is not mocked: for whatsoever a man
                        soweth, that shall he also reap.”




      2

Oubre gave you “up” in Court on September 13th 2022, that’s how I knew you
were coming.
      3

The proceeds would have been used to help the needy and those in distress that
land on the steps of our Church every week looking for help. I have no control or
say-so in those matters, as the Pastor makes those decisions.

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                           III. “LEVITICUS”

10. According to David Oubre, who set it up, all you “luminaries” are
“dying” to go to mediation with us on October 4th 2020, at the offices of
Alan Magenheim Esq. Please forgive me in advance, but if Oubre, or
Madam Sullivan, told me that the sun was going to shine brightly
tomorrow, I would be down at “ACE” hardware buying every high density
and LED light bulb in stock for the upcoming darkness that would engulf
the earth.

11. As I told Oubre in my very first letter to him dated March 14th 2022,
if his clients want a fight, they came to the right “gym” for that fight. If
they wanted peace, they also came to the right place. If we are going to
mediate on October 4th 2022, please HAVE THE DECENCY to inform
Mr. Magenheim so he can prepare the rooms, and if not, please inform
him so that he can cancel and give the space to people who wish for
peace, not game playing “luminaries” and their so-called “clients”!
However, I will not attend any mediations without the insurance policies,
and because Oubre and “Lewis & Bobo” committed crimes on behalf of
Nolan, Martinez, and Madam Sullivan, the Court cannot order this
mediation unless the judges become willing accomplices to that criminal
conduct as was laid out in, and read into the record, and was also
properly judicially noticed.

12. Please let me know by Friday, September 23rd 2022, if you guys still
desire to mediate, or, if we go back to GENESIS.

13. Thank you, I await your answers, and the insurance policies in
question– which you can present at the mediation– because as Jeff
Steidley found out (the hard way) in Padilla v. LaFrance, 907 S.W.2d 454
(Tex. 2005), never make a demand, or settle a case, without getting all
the policies first, unless it is a nominal demand that will quickly put an
end to contentious litigation, which is what we tried to do here in 2018,
and again in November of 2021.




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14.    In closing, be advised that I will treat you, the way you treat me.

        Most Cordially
       /s/ Michael Easton


                      CERTIFICATE OF SERVICE

       On this the 19th day of September 2022, I certify that I served a true
and correct copy of this instrument on all named parties via the Texas e-
file system.

                                                 /s/ Michael Easton




                                        6
